
BURKS_, J.
I concur with Judge Anderson in opinion, that the coupons were receivable for the taxes on account of which they were tendered in payment by the relator. I regard this tjuestion as settled by court. *1 am also of opinion, that these coupons are exempt from taxation under the act of 1879 — that the exemption is not forbidden by the Constitution and is valid and binding on the State. The power to exempt the obligations of the State from taxation is incidental to the power to contract, adjust and provide for the payment of such obligations. I am not prepared, however. to say, whether or not the power of exemption under the Constitution is without limitation, and extends to property generally, within the uncontrolled discretion of the legislature. The question is a very grave one, and, in the view I take, need not be decided in the present case. I wish therefore t.o be understood as not expressing any opinion upon it.
I concur in awarding a peremptory mandamus.
CHRISTIAN, J., concurred fully in the opinion of Anderson. J.
STAPLES, J., dissented.
Mandamus ordered.
